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  2   JONES DAY
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  3   Irvine, CA 92612.4408
      Telephone: (949) 851-3939
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  5   Attorneys for Defendant
      EXPERIAN INFORMATION SOLUTIONS,
  6   INC.
  7
  8                           UNITED STATES DISTRICT COURT
  9                          CENTRAL DISTRICT OF CALIFORNIA
 10
 11   EDEN KRETCHET,                                 Case No.CV-14-01953 DMG (RZx)
 12                     Plaintiff,
 13            v.                                    JOINT NOTICE OF
                                                     SETTLEMENT BETWEEN
 14   TRANS UNION LLC, EXPERIAN                      PLAINTIFF EDEN KRETCHET
      INFORMATION SOLUTIONS INC,                     AND EXPERIAN
 15   EQUIFAX INFORMATION                            INFORMATION SOLUTIONS,
      SERVICES LLC, CAPITAL ONE                      INC.
 16   BANK (USA) N.A., BANK OF
      AMERICA CORPORATION,
 17   NATIONAL CREDIT ADJUSTERS
      LLC, CALIFORNIA BUSINESS
 18   BUREAU INC, LVNV FUNDING
      LLC, DOES 1 TO 10 INCLUSIVE,
 19
                        Defendants.
 20
 21
 22            PLEASE TAKE NOTICE THAT Plaintiff Eden Kretchet (“Plaintiff”) and
 23   Defendant Experian Information Solutions, Inc. (“Experian”) have reached an
 24   agreement on all material terms required to settle all of Plaintiff’s claims against
 25   Experian pending in this action.
 26            The parties anticipate that the performance of the terms of the settlement
 27   agreement will be completed within thirty (30) days of the date of this notice, at
 28   which time, the parties shall file a Stipulation for Dismissal of the claims asserted
      IRI-62347v1                                                JOINT NOTICE OF SETTLEMENT
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                                                 /S/ Katherine A. Klimkowski
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  1                             CERTIFICATE OF SERVICE
  2
  3         I, Dulce Hansen, declare:
  4         I am a citizen of the United States and employed in Orange County,
  5   California. I am over the age of eighteen years and not a party to the within-entitled
  6   action. My business address is 3161 Michelson Drive, Suite 800, Irvine, California
  7   92612.4408. On April 29, 2014, I served a copy of the JOINT NOTICE OF
  8   SETTLEMENT BETWEEN PLAINTIFF EDEN KRETCHET AND
  9   EXPERIAN INFORMATION SOLUTIONS, INC. by electronic transmission.
 10         I am familiar with the United States District Court Central District of
 11   California Western District’s practice for collecting and processing electronic
 12   filings. Under that practice, documents are electronically filed with the court. The
 13   court’s CM/ECF system will generate a Notice of Electronic Filing (NEF) to the
 14   filing party, the assigned judge, and any registered users in the case. The NEF will
 15   constitute service of the document. Registration as a CM/ECF user constitutes
 16   consent to electronic service through the court’s transmission facilities. Under said
 17   practice, the following CM/ECF users were served:
 18         Cristine Cunningham Reynaert         Judith Sethna
            Hunter R. Eley                       Reed Smith LLP
 19         Doll Amir and Eley LLP               355 South Grand Avenue
            1888 Century Park East               Suite 2900
 20         Suite 1850                           Los Angeles, CA 90071
            Los Angeles, CA 90067                Phone: (213) 457-8068
 21         Phone: (310) 557-9100                Fax: (213) 457-8080
            Fax: (310) 557-9101                  Email: jsethna@reedsmith.com
 22         Email: creynaert@dollamir.com
                    heley@dollamir.com           Attorneys for Defendant Bank of
 23                                              America Corporation
            Attorneys for Defendants
 24         Capital One Bank (USA), N.A.
 25
 26
 27
 28
                                              -3-              JOINT NOTICE OF SETTLEMENT
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  1         Sean P. Flynn
            Foley and Mansfield LLP
  2         300 South Grand Avenue
            Suite 2800
  3         Los Angeles, CA 90071
            Phone: (213) 283-2100
  4         Fax: (213) 283-2101
            Email:
  5         sflynn@foleymansfield.com
  6         Attorneys for Defendant
            National Credit Adjusters LLC
  7
  8
            Executed on April 29, 2014, at Irvine, California.
  9
 10
 11                                         /s/ Dulce Hansen
                                            Dulce Hansen
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                                             -4-                 JOINT NOTICE OF SETTLEMENT
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  1                             PROOF OF SERVICE BY MAIL
  2            I, Dulce Hansen, am a citizen of the United States and employed in Orange
  3   County, California. I am over the age of eighteen years and not a party to the
  4   within-entitled action. My business address is 3161 Michelson Drive, Suite 800,
  5   Irvine, California 92612.4408. I am readily familiar with this firm’s practice for
  6   collection and processing of correspondence for mailing with the United States
  7   Postal Service. On April 29, 2014, I placed with this firm at the above address for
  8   deposit with the United States Postal Service a true and correct copy of the within
  9   document(s):
 10                 JOINT NOTICE OF SETTLEMENT BETWEEN PLAINTIFF
                      EDEN KRETCHET AND EXPERIAN INFORMATION
 11                                 SOLUTIONS, INC.
 12   in a sealed envelope, postage fully paid, addressed as follows:
 13   Eden Kretchet
      11137 Freer Street
 14   Temple City, CA 91780
      Phone: (949) 600-0380
 15
      Plaintiff Pro Se
 16
 17            Following ordinary business practices, the envelope was sealed and placed
 18   for collection and mailing on this date, and would, in the ordinary course of
 19   business, be deposited with the United States Postal Service on this date.
 20            I declare that I am employed in the office of a member of the bar of this court
 21   at whose direction the service was made.
 22            Executed on April 29, 2014, at Irvine, California.
 23
 24                                                /S/ Dulce Hansen
 25                                                           Dulce Hansen

 26
 27
 28
      IRI-62347v1                               -5-                 JOINT NOTICE OF SETTLEMENT
